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                      EXHIBIT A
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                                                                     20-F-1304



From:                           Lee Fang <lee.fang@firstlookmedia.net>
Sent:                           Monday, June 29, 2020 3:13 PM
To:                             WHS MC-ALEX ESD Mailbox OSD-JS FOIA Requester Service Center
Subject:                        [Non-DoD Source] Office of the DoD Secretary FOIA IPA



All active links contained in this email were disabled. Please verify the identity of the sender, and confirm the
authenticity of all links contained within the message prior to copying and pasting the address to a Web
browser.




Hello, I am a journalist for The Intercept. I would like to file a Freedom of Information Act for news gathering
purposes.

I am requesting copies of written agreements and reports filed under the Intergovernmental Personnel Act
(IPA) for all officials appointed under this program during the period of Jan. 21, 2017 through June 25, 2020 to
this agency.

I am seeking any filings related to §334.106, §334.107, §334.108 and §334.103 of the law, which include any
written agreements between personnel & agency outlining the responsibilities for personnel, organization
documents submitted to obtain eligibility certification under the program, and documents submitted for
personnel in compliance with the IPA program, including ethics statements.

I am also seeking a list of names of officials hired through the IPA program to this agency.

As a member of the new media, I am seeking an exemption to any fees related to this request. If fees are
incurred, please notify me if fees related to this request exceed $200. I can be reached by phone at 202-394-
9170 and I can be reached by mail at Lee Fang, First Look Media, 604 Mission St., 7th Floor San Francisco,
CA 94105. If possible, please send any responsive documents electronically over email to
lee.fang@firstlookmedia.net < Caution-mailto:lee.fang@firstlookmedia.net >

Please do not hesitate to contact me if you have any questions or concerns regarding this matter.

Thank you,

Lee Fang
Reporter
The Intercept




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